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       Football League, NFL Enterprises LLC,
     9 and the Individual NFL Clubs

    10   [Additional Counsel Listed on Signature
         Pages]
    11

    12                                UNITED STATES DISTRICT COURT
    13                             CENTRAL DISTRICT OF CALIFORNIA
    14

    15
         IN RE: NATIONAL FOOTBALL                    Case No. 2:15-ml-02668-PSG (JEMx)
    16   LEAGUE’S “SUNDAY TICKET”
         ANTITRUST LITIGATION,
    17                                               THE NFL DEFENDANTS’
         _______________________________             APPLICATION UNDER LOCAL
    18                                               RULE 79-5 TO FILE DOCUMENTS
         THIS DOCUMENT RELATES TO:                   UNDER SEAL
    19   ALL ACTIONS.
                                                     Judge: Hon. Philip Gutierrez
    20

    21                                               Date: January 13, 2023
                                                     Time: 1:30 p.m.
    22
                                                     Courtroom:
    23                                                     First Street Courthouse
    24
                                                           350 West 1st Street
                                                           Courtroom 6A
    25                                                     Los Angeles, CA 90012
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         Case No. 2:15-ml-02668-PSG (JEMx)          The NFL Defendants’ Application Under Local Rule 79-5 to File
                                                    Documents Under Seal
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     1           TO THE ABOVE-CAPTIONED COURT AND TO PLAINTIFFS AND
     2   THEIR COUNSEL OF RECORD:
     3           PLEASE TAKE NOTICE that pursuant to Local Rule 79-5.2.2(b), the NFL
     4   Defendants, by and through their counsel of records, hereby submit this application
     5   requesting that the Court lodge provisionally under seal the following documents
     6   (lodged concurrently herewith):
     7           1. The sealed Declaration of Rakesh N. Kilaru in Support of NFL
     8                 Defendants’ Application Under Local Rule 79-5 to File Documents Under
     9                 Seal.
    10           2. The unredacted version of the NFL Defendants’ Memorandum in Support
    11                 of the NFL Defendants’ Motion to Exclude the Opinions of J. Douglas
    12                 Zona.
    13           3. Exhibit 1 to the Declaration of Rakesh N. Kilaru in Support of the NFL
    14                 Defendants’ Motion to Exclude the Opinions of J. Douglas Zona.
    15           4. Exhibit 2 to the Declaration of Rakesh N. Kilaru in Support of the NFL
    16                 Defendants’ Motion to Exclude the Opinions of J. Douglas Zona.
    17           5. Exhibit 3 to the Declaration of Rakesh N. Kilaru in Support of the NFL
    18                 Defendants’ Motion to Exclude the Opinions of J. Douglas Zona.
    19           6. Exhibit 4 to the Declaration of Rakesh N. Kilaru in Support of the NFL
    20                 Defendants’ Motion to Exclude the Opinions of J. Douglas Zona.
    21           7. Exhibit 5 to the Declaration of Rakesh N. Kilaru in Support of the NFL
    22                 Defendants’ Motion to Exclude the Opinions of J. Douglas Zona.
    23           8. Exhibit 6 to the Declaration of Rakesh N. Kilaru in Support of the NFL
    24                 Defendants’ Motion to Exclude the Opinions of J. Douglas Zona.
    25           9. Exhibit 7 to the Declaration of Rakesh N. Kilaru in Support of the NFL
    26                 Defendants’ Motion to Exclude the Opinions of J. Douglas Zona.
    27           10. Exhibit 8 to the Declaration of Rakesh N. Kilaru in Support of the NFL
    28                 Defendants’ Motion to Exclude the Opinions of J. Douglas Zona.
                                                   1
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                                                     Documents Under Seal
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     1          11. The unredacted version of Exhibit 9 to the Declaration of Rakesh N.
     2                Kilaru in Support of the NFL Defendants’ Motion to Exclude the
     3                Opinions of J. Douglas Zona.
     4          12. Exhibit 10 to the Declaration of Rakesh N. Kilaru in Support of the NFL
     5                Defendants’ Motion to Exclude the Opinions of J. Douglas Zona.
     6
                Given confidentiality and commercial sensitivity issues, the NFL Defendants
     7
         request the Court to seal and redact the designated documents. Pursuant to
     8
         communications regarding confidentiality issues, third-parties Amazon, DirecTV,
     9
         CBS, and Fox, requested that the NFL Defendants move the Court to seal and redact
    10
         the designated documents.
    11

    12   Dated: November 4, 2022
                                             By: /s/ Rakesh N. Kilaru
    13                                           Beth A. Wilkinson (admitted pro hac vice)
                                                 Brian L. Stekloff (admitted pro hac vice)
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         Case No. 2:15-ml-02668-PSG (JEMx)               The NFL Defendants’ Application Under Local Rule 79-5 to File
                                                         Documents Under Seal
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     1

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     8                                       League, NFL Enterprises LLC, and the
                                             Individual NFL Clubs
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         Case No. 2:15-ml-02668-PSG (JEMx)        The NFL Defendants’ Application Under Local Rule 79-5 to File
                                                  Documents Under Seal
